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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      AT FORT MYERS

ZSR Patlayici Sanayi A.S.,                        )
                                                  )
                                                  )
                  Plaintiff,                      )
                                                  )
vs.                                               )       Civil Action No.: 2:19-cv-864-FtM-38MRM
                                                  )
Matthew Sarac,                                    )
Sarac Distributors LLC, and                       )
Yavex LLC                                         )
                                                  )
                                                  )
                  Defendants.                     )
                                                  )


                          NOTICE OF PENDENCY OF OTHER ACTIONS

            In accordance with Local Rule 1.04(d), I certify that the instant action:

             IS                related to pending or closed civil or criminal case(s) previously filed
                               in the Court, or any other Federal or State court, or administrative
                               agency as indicated below:




      X___ IS NOT              related to any pending or closed civil or criminal case filed with this
                               Court, or any other Federal or State court, or administrative agency.

             I further certify that I will serve a copy of this NOTICE OF PENDENCY OF
      OTHER ACTIONS upon each party no later than FOURTEEN (14) DAYS after
      appearance of the party.


      Dated: 23rd day of December, 2019.




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                                   By: /s/ Mehmet Baysan
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                                   Counsel for Plaintiff ZSR Patlayici Sanayi A.S.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December 2019, a true and correct copy of the
foregoing was served by U.S. mail on the following:

       Matthew Sarac
       8411 Sedonia Drive
       Estero, Florida 33967

       Sarac Distributors LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966

       Yavex LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966


                                                  By:____/s/ Mehmet Baysan_______________
                                                      Mehmet Baysan
